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                       UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION

William Burke,

      Plaintiff,                              Case No. 2:19-cv-2006

      v.                                      Judge Michael H. Watson

Andrew Anglin, et al.,                        Magistrate Judge Deavers

      Defendants.

                              OPINION AND ORDER

      Although the substance of this case involves the attack that occurred at

Charlottesville, Virginia in August 2017, at issue in this Opinion and Order is

solely whether the Court must dismiss William Burke’s (“Plaintiff”) claims against

Defendant Traditionalist Worker Party (“TWP”). Mot. Dismiss, ECF No. 61. For

the following reasons, TWP’s motion is DENIED.

                                   I.     FACTS

      At its most basic, Plaintiff alleges the following. Multiple neo-Nazi, white

supremacist, and white nationalist individuals and organizations, some of whom

are defendants in this case, conspired to incite fear and violence at the August

2017 “Unite the Right” rally, which was to be held in Charlottesville, Virginia.

Plaintiff was present in Charlottesville to counter protest. Plaintiff sustained

injuries when James Alex Fields, Jr. plowed his vehicle through a crowd of

counter protestors, killing Heather Heyer. Plaintiff collided with Heather Heyer
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during the attack and witnessed her death. Plaintiff suffered physical and

psychological injuries from the attack, for which he seeks compensation.

                          II.    STANDARD OF REVIEW

      TWP moves to dismiss for lack of personal jurisdiction, improper venue,

and failure to state a claim. Because jurisdiction and venue are threshold issues,

the Court must resolve those questions before issuing any ruling on Defendant’s

other grounds for dismissal. Citizens Bank v. Parnes, 376 F. App’x 496, 501 (6th

Cir. 2010) (“Personal jurisdiction over a defendant is a threshold issue that must

be present to support any subsequent order of the district court . . . .”); Proctor &

Gamble Co. v. Ranir, LLC, No. 1:17-CV-185, 2017 WL 3537197, at *4 (S.D. Ohio

Aug. 17, 2017) (“Courts faced with an argument that venue is improper must

resolve that issue prior to addressing the merits of any claim . . . .” (citations

omitted)). The Court addresses only the personal jurisdiction issue in this

Opinion and Order.

      “[A] plaintiff bears the burden of establishing that jurisdiction exists.”

Theunissen v. Matthews, 935 F.2d 1454, 1458 (6th Cir. 1991) (citing McNutt v.

Gen. Motors Acceptance Corp., 298 U.S. 178, 189 (1936) (further citation

omitted)). “Additionally, in the face of a properly supported motion for dismissal,

the plaintiff may not stand on his pleadings but must, by affidavit or otherwise, set

forth specific facts showing that the court has jurisdiction.” Id. at 1458 (citation

omitted).



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      Upon receipt of “a properly supported 12(b)(2) motion and opposition,” the

Court has three options; it may: (1) “decide the motion upon the affidavits

alone[,]” (2) permit additional discovery, or (3) hold an evidentiary hearing and

resolve apparent factual questions. Id. at 1458 (citation omitted). “[T]he method

selected will affect the burden of proof the plaintiff must bear to avoid dismissal.”

Id. (citation omitted). If the Court makes its decision on affidavits and pleadings

alone, “the plaintiff must make only a prima facie showing that personal

jurisdiction exists in order to defeat dismissal.” Id. (citations omitted). Moreover,

in that instance, the court analyzes the pleadings and affidavits “in a light most

favorable to the plaintiff” and “does not weigh the controverting assertions of the

party seeking dismissal.” Id. at 1459.

      Finally, “[f]ederal courts ordinarily follow state law in determining the

bounds of their jurisdiction over persons.” Walden v. Fiore, 571 U.S. 377, 283

(2014) (internal quotation marks and citation omitted); see also Fed. R. Civ. P.

4(k)(1)(A) (“Serving a summons . . . establishes personal jurisdiction over a

defendant . . . who is subject to the jurisdiction of a court of general jurisdiction in

the state where the district court is located[.]”).

                                    III.   ANALYSIS

      TWP’s arguments regarding personal jurisdiction were directed at a prior

version of Plaintiff’s Complaint and are premised on the assumption that TWP is

a nonresident defendant. See Mot., ECF No. 33 (analyzing whether the long-arm

statute has been satisfied). Yet by incorporating its prior filings, TWP’s current

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motion ignores the fact that Plaintiff filed a Second Amended Complaint, wherein

Plaintiff explicitly alleges that TWP is domiciled in Cincinnati, Ohio. Second Am.

Compl. ¶ 24, ECF No. 67.

       “It is axiomatic that Ohio courts can exercise jurisdiction over a person who

is a resident of Ohio.” Prouse, Dash & Crouch, L.L.P. v. DiMarco, 116 Ohio St.

3d 167, 168 (2007). Accordingly, if TWP is an Ohio resident, there is no need to

separately analyze whether it is subject to jurisdiction under Ohio’s long-arm

statute. See id. at 369; see also Emiabata v. Progressive Ins., No. 1:17cv1859,

2018 WL 1000112, at *1 (N.D. Ohio Feb. 21, 20118) (“[D]efendants who reside in

the forum state will always be subject to the personal jurisdiction of the court . . .

.”). TWP’s motion sidesteps this basic principle as well as Plaintiff’s allegation

regarding TWP’s domicile. Moreover, although TWP attempts to undermine

Plaintiff’s allegation that it is “based out of Cincinnati, Ohio” by labeling it a

“conclusory statement,” Reply 5, ECF No. 45, TWP’s motion is unsupported by

any affidavit or other evidence that it is not based out of Cincinnati, Ohio, and is

not otherwise an Ohio resident.1




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  At this time, the Court places no significance on the fact that Plaintiff failed to allege
that TWP is incorporated in Ohio or has its principal place of business in Ohio. See
Reply 5, ECF No. 45. For purposes of establishing diversity jurisdiction, a corporation is
a citizen of each state in which it is incorporated as well as the state of its principal
place of business. But, it is not yet clear that TWP is an incorporated entity, and TWP
has not yet shown that the test for corporate citizenship is necessarily the applicable
test for determining whether TWP is a resident of Ohio for purposes of personal
jurisdiction.
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       Accordingly, TWP’s motion to dismiss based on lack of personal

jurisdiction is DENIED WITHOUT PREJUDICE as it is not a “well supported”

motion.

                                IV.    CONCLUSION

       TWP’s motion to dismiss, ECF No. 61, is DENIED WITHOUT PREJUDICE

in its entirety.

       TWP is DIRECTED to either file a properly supported motion to dismiss for

lack of personal jurisdiction—directed at Plaintiff’s Second Amended Complaint,

ECF No. 57—or inform the Court that TWP submits to the personal jurisdiction of

the Court. TWP’s properly supported motion regarding lack of personal

jurisdiction or notice that it submits to the personal jurisdiction of the Court shall

be filed within TEN DAYS of the date of this Opinion and Order.

       If TWP chooses to persist in its motion to dismiss for lack of personal

jurisdiction, its motion must: detail the type of entity TWP is, set forth the test for

whether such an entity is a resident of Ohio for purposes of personal jurisdiction,

analyze whether TWP is an Ohio resident under that test, and be supported by

an affidavit. Its motion may include other Rule 12(b) grounds for dismissal but

may not incorporate by reference previous filings.

       If TWP chooses to instead file a notice of submission to the Court’s

personal jurisdiction, it may thereafter file a motion to dismiss asserting its other

Rule 12(b) defenses, but such motion may not incorporate any previous filings by



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reference. Such motion is due within FOURTEEN DAYS of TWP’s notice of

submission to the personal jurisdiction of this Court, if such notice is filed.

        The Clerk shall terminate ECF No. 61 from the Court’s pending motions

list.

        IT IS SO ORDERED.

                                        ___/s/ Michael H. Watson___________
                                        MICHAEL H. WATSON, JUDGE
                                        UNITED STATES DISTRICT COURT




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